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                                                                                     FILED
                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF VIRGINIA                      JUN 2 7 2012
                                    NEWPORT NEWS DIVISION
                                                                              CLgRK, U.S. DISTRICT COURT
KENNETH R. FLAUM, Individually,                                                t     NORFOLK. VA



               Plaintiff,


vs.                                                    Case No.


WILLIAMSBURG OUTLETS, L.L.C., a
Foreign Limited Liability Company,


                Defendant.



                                          COMPLAINT
                                    (Injunctive Relief Demanded)


       Plaintiff, KENNETH R. FLAUM, Individually, on his behalf and on behalf of all other

mobility impaired individuals similarly situated, (sometimes referred to as "Plaintiff'), hereby sues

the Defendant, WILLIAMSBURG OUTLETS, L.L.C., a Foreign Limited Liability Company,

(sometimes referred to as "Defendant"), for Injunctive Relief, and attorney's fees, litigation

expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

("ADA").


1.     Plaintiff, Kenneth R. Flaum, is an individual residing in Gloucester, VA, in the County of

       Gloucester.


2.     Defendant's property, Williamsburg Premium Outlets, is located at 5715 Richmond Road,

       Williamsburg, VA 23188, in the County of James City.


3.     Venue is properly located in the Eastern District of Virginia because venue lies in the judicial


       district of the property situs. The Defendant's property is located in and does business within

       this judicial district.
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4.   Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

     jurisdiction over actions which arise from the Defendant's violations of Title III of the

     Americans with Disabilities Act, 42 U.S.C. § 12181 et seg. See also 28 U.S.C. § 2201 and

     § 2202.


5.   Plaintiff Kenneth R. Flaum is a Virginia resident, is sui juris, and qualifies as an individual

     with disabilities as defined by the ADA. Mr. Flaum has a service connected disability and

     has been evaluated at 100% disabled. Mr. Flaum has back fusions, has rheumatoid arthritis,

     and had two hip replacements, and uses the aid of a scooter or wheelchair for mobility. Mr.

     Flaum is totally and permanently disabled due to his service connected disabilities, and he

     is substantially limited in performing one or more major life activities, including walking.

     Kenneth R. Flaum has visited the property which forms the basis of this lawsuit and plans

     to return to the property to avail himself of the goods and services offered to the public at the

     property. The Plaintiff has encountered architectural barriers at the subject property, which

     have limited his access to the Defendant's property, and to the goods, services, facilities,

     privileges, advantages, and accommodations offered at Defendant's property. The ADA

     violations and barriers to access at the property are more specifically set forth in this

     Complaint. The barriers to access at the property have also endangered his safety.

6.   Defendant owns, leases, leases to, or operates a place of public accommodation as defined

     by the ADA and the regulations implementing the ADA, 28 CFR 36.201 (a) and 36.104.

     Defendant is responsible for complying with the obligations of the ADA. The place of public

     accommodation that the Defendant owns, operates, leases or leases to is known as

     Williamsburg Premium Outlets, and is located at 5715 Richmond Road, Williamsburg, VA

     23188.
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7.   Kenneth R. Flaum has a realistic, credible, existing and continuing threat of discrimination

     from the Defendant's non-compliance with the ADA with respect to this property as

     described but not necessarily limited to the allegations in paragraph 9 of this Complaint.

     Plaintiff has reasonable grounds to believe that he will continue to be subjected to

     discrimination in violation of the ADA by the Defendant. Kenneth R. Flaum desires to visit

     Williamsburg Premium Outlets not only to avail himself of the goods and services available

     at the property but to assure himself that this property is in compliance with the ADA so that

     he and others similarly situated will have full and equal enjoyment of the property without

     fear of discrimination.


8.   The Defendant has discriminated against the individual Plaintiff by denying him access to,

     and full and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

     accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et sea,.


9.   The Defendant has discriminated, and is continuing to discriminate, against the Plaintiffin

     violation of the ADA by failing to, inter alia, have accessible facilities by January 26,1992

     (or January 26,1993, if Defendant has 10 or fewer employees and gross receipts of $500,000

     or less).   A preliminary inspection of Williamsburg Premium Outlets has shown that

     violations exist. These violations personally encountered by Kenneth R. Flaum include, but

     are not limited to:


     Parking and Accessible Routes


     A.      In this parking facility, there are an insufficient number of spaces designated for
             disabled use, violating Section 208.2 of the 2010 Standards for Accessible Design.

     B.      The disabled use parking spaces that are provided at this facility are not located on
             the shortest accessible route to the accessible entrances as required in Section 208.3.1
             of the 2010 Standards for Accessible Design.
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     C.     The disabled use spaces and/or access aisles contain slopes or cross slopes in excess
            of 1:48 contrary to the requirements of Section 502.4 of the 2010 Standards for
            Accessible Design.


     D.    There are no disabled use parking spaces designated as "van accessible" violating
           Sections 208.2.4 and 502.6 of the 2010 Standards for Accessible Design.

     E.    There are no accessible routes from the street, sidewalk and parking areas as required
           in Section 206.2.1 of the 2010 Standards for AccessiblE Design.

     F.     Some of the doors at the facility are fitted with inaccessible hardware, in violation of
            Section 404.2.7 of the 2010 Standards for Accessible Design.


     G.    The lower surfaces (up to 10" AFF) of the push side of some doors at the facility are
           not smooth as required in Section 404.2.10 of the 2010 Standards for Accessible
            Design.


     H.    The maneuvering clearance of some of the doors at the facility do not comply with
           the requirements of Section 404.2.1 of the 2010 Standards for Accessible Design.

     I.    The clear width of some of the doors at the facility does not comply with the
           requirements of Section 404.2.3 of the 2010 Standards for Accessible Design.


     J.    Some of the door thresholds at the facility are not in compliance with Section 404.2.5
           of the 2010 Standards for Accessible Design.


     K.    There are ramps at the facility that contain excessive slopes in violation of Section
           405.2 of the 2010 Standards for Accessible Design.


     L.    There are ramps at the facility that lack the edge protection required in Section 405.9
           of the 2010 Standards for Accessible Design.


     M.    There are curb ramps at the facility contain excessive slopes, side slopes or cross
           slopes in violation of Sections 405.2 and 405.3 of the 2010 Standards for Accessible
           Design.


     N.    There are changes in level greater than 14" on the accessible route that do not comply
           with the requirements of Section 303.4 of the 2010 Standards for Accessible Design.

     O.    There is not a continuous path of travel connecting all essential elements of the
           facility, in violation of Sections 206.2.2 of the 2010 Standards for Accessible Design.

     Access to Goods and Services


      P.   There are permanently designated interior and exterior spaces without the signage

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            required in Sections 216 of the 2010 Standards for Accessible Design.


      Q.    The signs that are provided at this facility do not comply with the requirements of
            Section 703 of the 2010 Standards for Accessible Design.

      R.    There are sales and service counters throughout the facility that do not comply with
            the requirements of Sections 227.3 and 904.4 of the 2010 Standards for Accessible
             Design.


      Public Restrooms


      S.     There are exposed pipes in restrooms at the facility, violating of Sections 213.3.4 and
             606.5 of the 2010 Standards for Accessible Design.


      T.     The sinks in the restroom provided do not meet the requirements prescribed in
             Sections 213.3.4,606.2 and 606.3 of the 2010 Standards for Accessible Design.


      U.     The grab-bars in many of the common area restrooms do not comply with the
             requirements prescribed in Sections 604.5 and 609 of the 2010 Standards for
             Accessible Design.


      V.     The mirrors provided for public use in the restrooms do not comply with the
             requirements in Sections 213.3.5 and 603.3 of the 2010 Standards for Accessible
             Design.


      W.     The location of the toilet paper dispenser provided does not comply with the
             requirements of Section 604.7 of the 2010 Standards for Accessible Design.

10.    The discriminatory violations described in paragraph 9 are not an exclusive list of the

       Defendant's ADA violations. Plaintiff requires the inspection of the Defendant's place of

       public accommodation in order to photograph and measure all of the discriminatory acts


       violating the ADA and all of the barriers to access. The individual Plaintiff, and all other

       individuals similarly situated, have been denied access to, and have been denied the benefits

       of services, programs and activities of the Defendant's buildings and its facilities, and have

       otherwise been discriminated against and damaged by the Defendant because of the

       Defendant's ADA violations, as set forth above. The individual Plaintiff, and all others

       similarly situated, will continue to suffer such discrimination, injury and damage without

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      the immediate relief provided by the ADA as requested herein. In order to remedy this


      discriminatory situation, the Plaintiff requires an inspection of the Defendant's place of


      public accommodation in order to determine all of the areas of non-compliance with the


      Americans with Disabilities Act.


11.   Defendant has discriminated against the individual by denying him access to full and equal


      enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations


      of its place of public accommodation or commercial facility in violation of 42 U.S.C. §


      12181 et seq. and 28 CFR 36.302 et sea.         Furthermore, the Defendant continues to


      discriminate against the Plaintiff, and all those similarly situated by failing to make

      reasonable modifications in policies, practices or procedures, when such modifications are


      necessary to afford all offered goods, services, facilities, privileges, advantages or


      accommodations to individuals with disabilities; and by failing to take such efforts that may


      be necessary to ensure that no individual with a disability is excluded, denied services,


      segregated or otherwise treated differently than other individuals because of the absence of


      auxiliary aids and services.


12.   Plaintiff is without adequate remedy at law and is suffering irreparable harm. Plaintiff has


      retained the undersigned counsel and is entitled to recover attorney's fees, costs and


      litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.


13.   Defendant is required to remove the existing architectural barriers to the physically disabled


      when such removal is readily achievable for its place of public accommodation that have


      existed prior to January 26,1992,28 CFR 36.304(a); in the alternative, if there has been an


      alteration to Defendant's place of public accommodation since January 26,1992, then the


      Defendant is required to ensure to the maximum extent feasible, that the altered portions of

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      the facility are readily accessible to and useable by individuals with disabilities, including

      individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant's facility is


      one which was designed and constructed for first occupancy subsequent to January 26,


       1993, as defined in 28 CFR 36.401, then the Defendant's facility must be readily accessible


      to and useable by individuals with disabilities as defined by the ADA.


14.   Notice to Defendant is not required as a result of the Defendant's failure to cure the

      violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer

      employees and gross receipts of $500,000 or less). All other conditions precedent have been

      met by Plaintiff or waived by the Defendant.


15.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff


      Injunctive Relief, including an order to require the Defendant to alter Williamsburg

      Premium Outlets to make those facilities readily accessible and useable to the Plaintiff and

      all other persons with disabilities as defined by the ADA; or by closing the facility until

      such time as the Defendant cures its violations of the ADA.


WHEREFORE, Plaintiff respectfully requests:


      a.      The Court issue a Declaratory Judgment that determines that the Defendant at the

              commencement of the subject lawsuit is in violation of Title III of the Americans


              with Disabilities Act, 42 U.S.C. § 12181 et seq.


      b.      Injunctive relief against the Defendant including an order to make all readily

              achievable alterations to the facility; or to make such facility readily accessible to

              and usable by individuals with disabilities to the extent required by the ADA; and


              to require the Defendant to make reasonable modifications in policies, practices or


              procedures, when such modifications are necessary to afford all offered goods,

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                           services, facilities, privileges, advantages or accommodations to individuals with


                          disabilities; and by failing to take such steps that may be necessary to ensure that no


                           individual with a disability is excluded, denied services, segregated or otherwise


                          treated differently than other individuals because of the absence of auxiliary aids and


                           services.


             c.            An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C.


                           § 12205.


             d.            Such other relief as the Court deems just and proper, and/or is allowable under


                           Title III of the Americans with Disabilities Act.


                                                                      Respectfully Submitted,


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